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GASD First Step Act Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(1)(B) Page | of 2.(Rage: 2 Not for Public Disclosure)
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UNITED STATES DISTRICT COURTAYGuS so.
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Southern District of Georgia 2015 APR 22 AM 9

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United States of America

v. )
) Case No: CR 108-00071-001
Damien Foley )
) USMNo: 13643-021
Date of Original Judgment: March 24, 2009 )
Date of Previous Amended Judgment: ) Raymond J. Doumar
(Use Date of Last Amended Judgment if Any) Defendant's Attorney

ORDER REGARDING MOTION FOR SENTENCE REDUCTION
PURSUANT TO 18 U.S.C. § 3582(c)(1)(B)

Upon motion of [J the defendant (J the Director of the Bureau of Prisons L] the court under 18 U.S.C.

§ 3582(c)(1)(B) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the First Step Act of 2018 pursuant to Pub. L. No. 115- 391, and
having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10 and the
sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,

IT IS ORDERED that the motion is:
DENIED. [JGRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of months is reduced to .

(Complete Parts | and Ll af Page 2 when motion is granted)

Except as otherwise provided, all provisions of the judgment dated March 24, 2009 __ shall remain in effect.
IT IS SO ORDERED.

Order Date: 4/22) q

Effective Date: J. Randal Hat Chief Judge
United States District Court
Southern District of Georgia
(if different from order date) Printed name and title

 
